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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                  10/19/2020
                                                                       :
BRIAN FORD,                                                            :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   19-CV-6327 (JPC) (KHP)
                  -v-                                                  :
                                                                       :       NOTICE OF
THE NEW YORK CITY BOARD OF EDUCATION, also :                                 REASSIGNMENT
known as THE DEPARTMENT OF EDUCATION, and :
CARMEN FARINA, in her official capacity as :
Chancellor,                                                            :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All parties must familiarize themselves

with the Court’s Individual Rules, including the Court’s Individual Rules and Practices for

Pro    Se Litigants        (that is,      litigants    without counsel), which    are available at

https://www.nysd.uscourts.gov/hon-john-p-cronan. Unless and until the Court orders otherwise,

all prior orders, dates, and deadlines shall remain in effect notwithstanding the case’s reassignment.

Any conference or oral argument before the Magistrate Judge will proceed as ordered.

        Pursuant to the Court’s Individual Rules and Practices for Pro Se Litigants, all

communications with the Court by a pro se party should be mailed to the Pro Se Intake Unit, Daniel

Patrick Moynihan United States Courthouse, 500 Pearl Street, Room 200, New York, New York

10007. No documents or court filings should be sent directly to Chambers. Copies of
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correspondence between a pro se party and counsel shall not be sent to the Court.

       The Clerk of the Court is respectfully directed to mail a copy of this Order to Plaintiff.

       SO ORDERED.

Dated: October 19, 2020                              __________________________________
       New York, New York                                     JOHN P. CRONAN
                                                            United States District Judge




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